
The People of the State of New York, Appellant,
againstJoseph W. Wildrick, Respondent.



Appeal from an order the Justice Court of the Village of Goshen, Orange County (Rory K. Brady, J.), dated March 4, 2015. The order granted defendant's motion to dismiss the accusatory instrument.




ORDERED that, on the court's own motion, defendant's notice of appeal from an oral order of the same court issued February 4, 2015 is deemed a premature notice of appeal from the order dated March 4, 2015 (see CPL 460.10 [b]); and it is further,
ORDERED that the order dated March 4, 2015 is reversed, on the law, defendant's motion to dismiss the accusatory instrument is denied, the accusatory instrument is reinstated, and the matter is remitted to the Justice Court for all further proceedings.
For the reasons stated in People v Moody ( Misc 3d , 2016 NY Slip Op  [appeal No. 2015-444 OR CR], decided herewith), the order is reversed, defendant's motion to dismiss the accusatory instrument is denied, the accusatory instrument is reinstated, and the matter is remitted to the Justice Court for all further proceedings. 
Marano, P.J., Tolbert and Brands, JJ., concur.
Decision Date: August 01, 2016










